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14                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                     OAKLAND DIVISION
16   PATRICK CALHOUN, et al., on behalf           Case No. 4:20-cv-05146-YGR-SVK
17   of themselves and all others similarly
                                                  PLAINTIFFS’ RESPONSE TO GOOGLE’S
     situated,                                    MOTION FOR CLARIFICATION (DKT. 705)
18
                  Plaintiffs,                     OF THE COURT’S THIRD ORDER
19                                                COMPELLING GOOGLE TO PRODUCE THE
          v.                                      NAMED PLAINTIFF DATA (DKT. 700)
20
     GOOGLE LLC,                                  Referral: Honorable Susan van Keulen
21
                  Defendant.
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 1 I.       PRELIMINARY STATEMENT

 2          The Court’s Order does not need any clarification. The Court ordered Google to produce “[a]ll

 3 Named Plaintiff data currently being withheld by Google, regardless of third-party notification status

 4 [by] no later than June 30, 2022.” (Dkt. 700). There is no ambiguity. Google’s request for

 5 “clarification” is really a motion for reconsideration, and there are ample grounds to summarily deny

 6 the request. 1

 7          For almost two years, six Named Plaintiffs have sought production of their data from Google.

 8 Google, in turn, has stubbornly refused to identify what Named Plaintiff data is in its possession, let

 9 alone produce it. Google has raised specious roadblock after specious roadblock, despite four
10 separate orders to produce the data. See Dkts. 173-1; 377; 700; and Special Master Order of May 14,

11 2022. Google now asks the Court to clarify, again: does Your Honor really mean “all data?” The

12 answer must be a definitive and final “yes.” In fact, Google’s motion for “clarification” reveals more

13 discovery misconduct. As has happened throughout this litigation, Google yesterday admitted that it

14 is withholding yet more named plaintiff data, even data not subject to third-party notification, that

15 Google had not previously identified (the “Newly Revealed Plaintiff Data”). And Google still refuses

16 to identify, comprehensively, what Named Plaintiff data it possesses. Instead, Google claims that the

17 Newly Revealed Plaintiff Data is not “relevant,” offering examples like G-mail messages and chats

18 that would be swept up by the Court’s order. See Dkt. 705 at 4. But Google is not asking to just

19 exclude G-mail messages and chats; Google instead wants carte blanche authority to continue

20 withholding any data it wants to on the pretext of relevance.

21          The history of this litigation suggests that granting Google such discretion will result in severe
22 prejudice to Plaintiffs. See Dkts. 558, 685 (reciting history of, and issuing sanctions for, Google’s

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     Google’s pleading flips the standard for a motion for reconsideration on its head. A court may
25 grant reconsideration upon a showing of “newly discovered evidence.” Sch. Dist. No. 1J,
   Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). Facts discovered through
26
   recently produced documents and recent deposition testimony are “newly discovered” where a party
27 “acting with reasonable diligence, could not have previously discovered the evidence.” Perez v.
   Discover Bank, No. 20-CV-06896-SI, 2022 WL 344973, at *4 (N.D. Cal. Feb. 4, 2022) (citations
28 omitted). Here, the facts here have been in Google’s possession for years, and it reveals them now
   only when a ruling goes against Google’s interests.
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 1 improper interference with third-party production on the pretense of relevance review). If Google is

 2 permitted to use a “relevance” filter, Google will define relevance to exclude from production the

 3 most important data in the case: precisely what data Google possesses about the Named Plaintiffs.

 4 Plaintiffs respectfully request that the Court enforce its order of April 30, 2021, requiring Google to

 5 produce any and all data related to or associated with the Named Plaintiffs, their identifiers and

 6 devices, including profiles and all data keyed to Zwieback IDs, by June 30, 2022.

 7 II.      PROCEDURAL BACKGROUND

 8          Google was first ordered to produce all Named Plaintiff data more than a year ago. Dkt. 173-

 9 1 (the “April 30, 2021 Order”). After Google announced to Plaintiffs that it would not comply,
10 Plaintiffs brought a motion to compel. On July 13, 2021, the Court appointed a Special Master “for

11 the purpose of assisting this Court in resolving disputes of a technical nature in this litigation,”

12 including “(1) what information Defendant has regarding Plaintiffs; and (2) what information

13 Defendant has regarding identification of putative class members[.]” Dkt. 246 at 2 (emphasis added).

14          On September 16, 2021, the Court ordered Google to “identify to the Special Master and
15 Plaintiffs all databases and data logs … that may contain responsive information.” Dkt. 309 at 1

16 (emphasis added). The parties were then to discuss a search protocol and the Court stated that its

17 expectation was that “the productions that will result from this process will be completed by the

18 October 6, 2021 deadline previously ordered” by the Court. Id. Google did not comply with the order,

19 refusing to identify where “responsive” information was located, and instead limiting its response to

20 a smaller universe of what Google deemed “relevant,” a theme that continues to this day. Plaintiffs

21 objected to this limitation in the Special Master process, to no avail.

22          On November 12, 2021, the Court ordered Google “to provide the Special Master a full list
23 of all data sources which have been searched during the overall data process,” requiring that such list

24 include “the name of the data source [and] the date[s] on which the searches to date were carried out.”

25 Google was further ordered to “provide a declaration, under penalty of perjury from Google, not

26 counsel, that (1) to the best of its knowledge, Google has provided a complete list of data sources that

27 contain information relevant to Plaintiffs’ claims; and (2) all responsive data related to the Named

28 Plaintiffs have been produced from all searched data sources in the respective prior searches.” Dkt.

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 1 377 (emphasis added). Google again failed to comply with the order, and has never provided a

 2 description of all such data. Rather, Google identified what it deemed to be “relevant.” Dkt. 383. If

 3 forced to do so now, it would be the first time Plaintiffs have ever received any such description.

 4          Since that time, for years, Plaintiffs have repeatedly asked Google to identify all data related

 5 to the Named Plaintiffs, their identifiers and devices that Google had previously searched, segregated,

 6 and preserved. Google identified certain historical data as having been preserved, but refused to

 7 provide any further details – including whether there would be any technical burden to its production.

 8          In an attempt to push the technical issues to a finish, the Special Master arranged for informal

 9 conferences between counsel, Plaintiffs’ experts, and Google engineers on the “last” week of fact
10 discovery. On March 1, 2022, despite Google counsel’s earlier claims to the Special Master that the

11 preserved data had not been the subject of a prior “search,” a Google engineer stated that Google

12 preserved the data by extracting it from specific data sources using the Plaintiffs’ Google Account

13 identifiers, and then preserved it on a litigation platform.

14          Plaintiffs were shocked by the revelation. The data sources which were the subject of newly
15 directed searches through the Special Master process returned almost entirely null set results for the

16 Named Plaintiffs – when in fact these same data sources had already been searched for Named

17 Plaintiff data and the data segregated, and preserved. In other words, Google forced Plaintiffs to

18 engage in an expensive search process for over a year that Google knew was designed to return null

19 set results, while at the same time hiding a robust set of data from the very same sources being

20 searched.

21          The Special Master then ordered immediate production of the previously searched and
22 preserved Named Plaintiff data. But Google again refused to comply. Eventually, it was revealed that

23 Google possessed a trove of Named Plaintiff data from prior to the Court’s April 30, 2021 order that

24 it had not produced. Google did not dispute the relevance of the data, but still did not comply. Instead,

25 Google claimed – for the first time – that it was required to provide “notice” to all of the different

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 1 publishers involved. 2 On May 14, 2022, via email order, the Special Master ordered immediate

 2 production of the data on pain of sanctions of $5,000.00 per day, finding Google’s delay to be

 3 “unacceptable.” Google then produced new data gathered in the Special Master-directed log search

 4 process, but continued refusing to produce the remaining historically searched and preserved plaintiff

 5 data.

 6          On May 25, 2022, the Special Master, Google, and Plaintiffs all agreed that the matter was an

 7 issue for the Court to decide – not the Special Master. Accordingly, Plaintiffs raised the issue with

 8 the Court. Dkt. 678. Faced with formal Court review, Google reversed course and opposed Plaintiffs’

 9 request, telling the Court that it was an issue for the Special Master – the exact opposite of what it
10 had conceded to the Special Master just six days prior. Dkt. 680. The Court then issued its June 13,

11 2022 Order, which unambiguously directed the production of all Named Plaintiff data. Dkt. 700.

12 Google now seeks “clarification.”

13 III.     ARGUMENT
14          Until the filing two days ago, Google had not disclosed that it possesses additional data that
15 it has withheld from production. To the contrary, on March 14, 2022, after repeated requests for

16 clarification from Plaintiffs, Google told the Court (via the Special Master) that Google had

17 “disclosed all of the preserved data sources” for the case. The reason this is critical is that what Google

18 has produced as to the Named Plaintiff and as to test accounts and searches has yielded largely null

19 sets and is otherwise incomplete.

20          Google’s latest revelation invites additional questions. If an entire production is not made, the
21 existence of additional data would invoke, as Google suggests, another expensive, frustrating process

22 in which Plaintiffs and the Special Master must pose questions to guess at what Google possesses,

23 develop additional protocols to address Google’s burden assertions, and repeatedly nudge, cajole and

24 demand that Google produce the narrowed set the parties identify. Questions include whether this

25 withheld data includes data keyed to identifiers that track users who are not synced; data keyed to

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27  Plaintiffs have repeatedly requested, through the Special Master, that Google provide an exemplar
   of this form letter or email notice, which is relevant to consent and whether the data is confidential.
28 Google has refused. The Special Master ultimately has not ordered its production because (Plaintiffs
   believe) it is not a “technical” issue. Plaintiffs also dispute that publisher notice is even required.
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 1 users’ devices or connecting user’s device identifiers; revenue information; profile information; or

 2 not sync signals. All of these are directly relevant.

 3          Google also invites the Court to make an unfounded assumption. Google suggests that what

 4 it might be withholding would only include “Plaintiffs’ Gmail correspondences, Google Chat

 5 messages, games saves from Google Stadia, or YouTube TV DVR saves.” Dkt. 705 at 4:18-19.

 6 Google has never before raised these examples, nor has the focus of the parties’ efforts with the

 7 Special Master been on such examples. But what Google is attempting to do here is clear: Google

 8 is asking for relief from producing all Named Plaintiffs’ data by waving a hand at other descriptions

 9 of material and asking the Court for a blanket release from its obligations.
10           Google has had ample time to disclose what it is producing and seek reasonable exemptions
11 from the Court’s orders to produce all Named Plaintiff data. Indeed, this Court has ordered Google

12 to produce Plaintiff data three times. See Dkt. 173-1 (April 30, 2021 Order); Dkt. 377 (Nov. 12, 2021

13 Order); Dkt. 700 (June 13, 2022 Order). Its belated disclosures and recent requests to cull relevant

14 information do no support reconsideration of the Court’s orders.

15          In response to Google’s request for reconsideration, Plaintiffs request three simple orders.
16          First, Plaintiffs request that the Court, once again, order that Google produce ““[a]ll Named
17 Plaintiff data currently being withheld by Google, regardless of third-party notification status [by] no

18 later than June 30, 2022.”

19          Second, Plaintiffs request that the Court order Google to produce an exemplar of the form
20 letter or email that it is sending to notify publishers of its production of this information.

21          Third, Plaintiffs request that the Court order Google to submit a sworn declaration from
22 Google’s General Counsel relating to the order of November 12, 2022. This declaration shall affirm

23 that Google has disclosed and produced all Plaintiff data in its possession that has been the subject of

24 searches or automated systems created by Google to extract data relating to the Named Plaintiffs and

25 their devices from Google’s general logs.

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 1         Respectfully submitted this 16th Day of June 2022.

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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, David Straite, attest that concurrence in the filing of this document has been obtained from

 3 the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 19th Day of July, 2022, at New York, New York.

 5
                                                      By          /s/ David Straite
 6
                                                           David Straite
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 1                                CERTIFICATE OF SERVICE

 2         I, David Straite, hereby certify that on July 19, 2022, I caused to be electronically filed the

 3 foregoing document with the Clerk of the United States District Court for the Northern District of

 4 California using the CM/ECF system, which will send electronic notification to all counsel of record.

 5                                                          /s/ David Straite
                                                            David Straite
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